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                                                           1   BRIAN C. WHITAKER, ESQ.
                                                               Nevada Bar No. 2329
                                                           2   Email: bwhitaker@ericksonwhitaker.com
                                                               ERICKSON & WHITAKER PC
                                                           3   1349 Galleria Drive, Suite 200
                                                               Henderson, NV 89014
                                                           4   Telephone: 702-433-9696
                                                               Facsimile: 702-434-0615
                                                           5   Attorneys for Debtor

                                                           6                                UNITED STATES BANKRUPTCY COURT
                                                           7
1349 Galleria Drive, Suite 200, Henderson, Nevada 89014




                                                                                                      DISTRICT OF NEVADA
                                                           8
                                                               In re:                                                   Case No. 18-15922-Abl
                                                           9                                                            Chapter 11
(702) 433-9696 ♦ Fax: (702) 434-0615




                                                          10   BELLA SPOSA, LLC,
                                                                                                                        Hearing Date: November 14, 2018
                                                          11                           Debtor.                          Hearing Time: 1:30 p.m.

                                                          12

                                                          13                                       DEBTOR’S STATUS REPORT

                                                          14            Debtor submits the following Status Report pursuant to the Order Scheduling Status

                                                          15   Conference (Doc 6).

                                                          16   A.       Efforts to Develop a Plan of Reorganization:

                                                          17            1)     Debtor seeks to stop foreclosure proceedings and enforce a modification agreement

                                                          18   entered into with the holder of the first deed of trust in 2011. The modification reduced the principal

                                                          19   balance of the Note secured by Deed of Trust, from $1,150,000 to $825,000, due to the declining

                                                          20   valuation of the property. After an Addendum to Note was entered into between the parties, Debtor

                                                          21   sent payments to the Lender which payments were subsequently rejected and returned. Due to the

                                                          22   upcoming holidays, negotiations with the first deed of trust holder may take sixty (60) to ninety (90)

                                                          23   days.

                                                          24            2)     Debtor will also seek to “strip off” and modify the rights of the second and third deeds

                                                          25   of trust holders based upon the value of the real property. Debtor will seek to strip off and modify the

                                                          26   rights of the second and third deed of trust holders while negotiating with the first deed of trust holder.

                                                          27            3)     Debtor will be in a position to file a Plan upon completion of items 1 and 2 above,

                                                          28   which may take 60 to 90 days after the filing of this Status Report.

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                                                           1   B.     Proposed Budget post-341 meeting:

                                                           2          Counsel is charging a flat fee of $15,000 to handle the reorganization of Bella Sposa, LLC,

                                                           3   which includes:

                                                           4          1) Negotiations with first deed of trust holder to enforce 2011 modification: 15 to 20 hours;

                                                           5          2) Draft and file motion to establish the value of the collateral to strip or modify the rights of

                                                           6               the second and third deed of trust holders; attend hearing; draft and implement any orders

                                                           7               entered: approx. 10 hours;
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                                                           8          3) Prepare and file monthly operating reports: 1.5 hours per month;

                                                           9          4) Prepare and file Plan through confirmation of Plan: approx. 15 hours.
(702) 433-9696 ♦ Fax: (702) 434-0615




                                                          10

                                                          11          DATED this 9th day of November 2018.

                                                          12                                                           ERICKSON & WHITAKER PC
                                                          13                                                           BY      /s/ Brian C. Whitaker
                                                                                                                            BRIAN C. WHITAKER, ESQ.
                                                          14                                                                Nevada Bar No. 2329
                                                                                                                            1349 Galleria Drive, Suite 200
                                                          15                                                                Henderson, Nevada 89014
                                                                                                                            Attorneys for Debtor
                                                          16

                                                          17
                                                                                                  CERTIFICATE OF SERVICE
                                                          18
                                                                      1.      On November 9, 2018, I served the DEBTOR’S STATUS REPORT.
                                                          19
                                                                      2.      I served the above-named document by the following means to the parties listed below:
                                                          20
                                                                              a.      ECF System:
                                                          21
                                                               U.S. Trustee – LV – 11; USTPRegion17.lv.ecf@usdoj.gov
                                                          22
                                                                              b.      United States mail, postage fully prepaid: n/a.
                                                          23

                                                          24          I declare under penalty of perjury that the foregoing is true and correct.
                                                          25   Signed on November 9, 2018
                                                          26         Cynthia Pellerin                                         /s/ Cynthia Pellerin
                                                               Name of Declarant                                       Signature of Declarant
                                                          27                                                           Employee of Erickson & Whitaker PC
                                                          28

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